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                                                                                     3/1/2019




                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MONTANA

                                   BUTTE DIVISION

 ERIK POWELL,

                              Plaintiff,             No. CV 17-15-BU-SEH

 vs.
                                                     ORDER
 MONTANA STATE UNIVERSITY,
 DR. ROBERT MOKWA, and JYL
 SHAFFER, employees of Montana
 State University, sued in their official
 capacity,

                              Defendants.

       The Court has been informed that this case has been settled.

       ORDERED:

       1.       The trial set for March 25, 2019, and all deadlines in the Court's

Order of February 14, 2019, 1 are VACATED.



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      2.       The parties shall file a stipulation for dismissal and proposed order of

dismissal within 30 da~ °/-the date of this Order.

      DATED this / -aay of March, 2019.



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                                         SAME. HADDON               \
                                         United States District Judge




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